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 4   Attorney for Defendant

 5

 6                       United States District Court
                        Eastern District of Washington
 7                      Before the Hon. Mary K. Dimke

 8   United States of America,
                                              No. 4:21-CR-06028-MKD-3
 9                               Plaintiff,
                                              Response to Defendant Leticia
10   v.                                       Rodriguez’ Motion to Continue

11   Joel Chavez-Duran,

12                            Defendant.

13
          Pursuant to the Court’s Order of April 12, 2022 (ECF 199),
14
     Mr. Chavez-Duran, through his attorney of record, Adam R.
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     Pechtel, has no objection to Co-Defendant Leticia Rodriguez’
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     requested trial date of July 25, 2022.
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     //
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     //
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     Case 4:21-cr-06028-MKD   ECF No. 228    filed 04/20/22   PageID.1079 Page 2 of 3




 1   Dated: April 20, 2022                  Respectfully Submitted,

 2                                          s/Adam R. Pechtel
                                            Adam R. Pechtel/ WSBA #43743
 3                                          Attorney for Defendant
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 1                            SERVICE CERTIFICATE

 2   I hereby certify that on April 20, 2022 I electronically filed the

 3   foregoing with the Clerk of the Court using the CM/ECF System,

 4   which in turn automatically generated a Notice of Electronic Filing

 5   (NEF) to all parties in the case who are registered users of the

 6   CM/ECF system. The NEF for the foregoing specifically identifies

 7   recipients of electronic notice. I hereby certify that I have mailed by

 8   United States Postal Service the document to the following non-

 9   CM/ECF participants: N/A.

10

11                                          s/Adam R. Pechtel
                                            Adam R. Pechtel/ WSBA #43743
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     Response to ECF No 188 - 3
